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 6                              UNITED STATES DISTRICT COURT

 7                                    DISTRICT OF ARIZONA

 8 Equal Employment Opportunity Commission, Case No. CIV 08-01207-NVW-PHX
 9                  Plaintiff,
                                            EXHIBITS TO RESPONSE TO CROSS-
10       vs.                                MOTION TO COMPEL ARBITRATION
11 The Cheesecake Factory, Inc., a Delaware
   corporation,
12
                     Defendant.
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16
17                                   Exhibit C
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